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Department of the Treasury
Federal Law Enforcement Agencies

PROCESS RECEIPT AND RETURN

 

 

 

PLAINTIFF COURT CASE NUMBER

United States of America EDCV 17-1872 DMG (SPx)
DEFENDANT TYPE OF PROCESS

Real Property Located at 10681 Production Avenue, Fontana, CA Complaint

 

SERVE NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE
job &t PRowwcdwe Avenue CLC

 

 

 

 

 

 

AT ADDRESS (Street or RFD, Apartment No., City, State and Zip Code)
lobkt PRuoveqtien Averut, Cow tore, CA 42337

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW NUMBER OF PROCESS TO BE
AUSA Steven R. Welk SERVED IN THIS CASE
U.S. Attorney's Office, Asset Forfeiture Section NUMBER OF PARTIES TO BE
1400 U.S. Courthouse SERVED IN THIS CASE
312 N. Spring Street CHECK BOX IF SERVICE IS ON USA
Los Angeles, CA 90012

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Includes Business and Alternate
Addresses, Telephone Numbers, and Estimated Times Available For Service)

Agency Case Number: ULOSHR17UL0001
Agency Seizure Number: 2017-2704-900015-01

Please post and walk Complaint, Notice and Lis Pendens.

 

 

 

Zé
Signature of Attomey or a al requesti isbn behalf of EJ PLAINTIFF TELEPHONE NO. DATE
— . (.] DEFENDANT 213-894-6166 09/14/2017

 

SIGNATURE AND DATE OF PERSON ACCEPTING PROCESS

 

SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY

 

| acknowledge receipt for the total number District of Origin District to Serve SIGNATURE OF AUTHORIZED TREASURY AGENCY OFFICER. DATE

 

 

 

 

Of process indicated No. No.

 

 

1 HEREBY CERTIFY AND RETURN THAT | [J PERSONALLY SERVED, CUHAVE LEGAL EVIDENCE OF SERVICE, [7 HAVE EXECUTED AS SHOWN IN “REMARKS”, THE PROCESS DESCRIBED
ON THE INDIVIDUAL, COMPANY, CORPORATION, ETG., AT THE ADDRESS SHOWN ABOVE OR ON THE ADDRESS INSERTED BELOW

 

(1 | HEREBY CERTIFY AND RETURN THAT {AM UNABLE TO LOCATE THE INDIVIDUAL, GOMPANY, CORPORATION, ETC NAMED ABOVE.

 

 

NAME & TITLE OF INDIVIDUAL SERVED IF NOT SHOWN ABOVE: €] Aperson of suitable age and discretion then residing
{n the defendant's usual place of abode.
ADDRESS: (Complete only if different than shown above) DATE OF SERVICE TIME OF SERVICE 0 AM

 

6 fty f10 VUES KI PM

 

 

be TITLE AND TREASURY AGENCY

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REMARKS: on 4-1y- Aol | the Fe llewse vn documents w/er'e posied atk enfrance
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Case 5:17-cv-01872-DMG-SP Document 47-1 Filed 09/16/19 Page 2 o0f4 Page ID #:566
Case 5:17-cv-01872-DMG-SP Document 25 Filed 11/02/17 Page 1of3 Page ID #:199

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

EASTERN DIVISION
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
v. } EDCV 17-1872-DMG-SP
)
REAL PROPERTY LOCATED AT 10681 )
PRODUCTION AVENUE, FONTANA, )
CALIFORNIA, )
)
Defendant. )

DECLARATION OF PUBLICATION
Notice of Civil Forfeiture was posted on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning on September 25, 2017,

as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions, as evidenced by Attachment 1, which consists of a copy of the
notice on the www.forfeiture.gov website, and as evidenced by Attachment 2, the Advertisement
Certification Report, which documents that the notice was posted on the www. forfeiture. gov

website for at least 18 hours a day for the required 30 consecutive days.
I declare under penalty of perjury that the foregoing is true and correct. Executed on
October 30, 2017, at Los Angeles, CA.
came ages —
Lo
Ricardo Reyes

Records Examiner

Exwiit B

 

 
Case 5:17-cv-01872-DMG-SP Document 47-1 Filed 09/16/19 Page 3of4 Page ID #:567
Case 5:17-cv-01872-DMG-SP Document 25 Filed 11/02/17 Page 2 of 3 Page ID #:200 -

Attachment 1
IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION

COURT CASE NUMBER: EDCV 17-1872; NOTICE OF FORFEITURE ACTION

Pursuant to 19 U.S.C. § 1595a, the United States filed a verified Complaint for
Forfeiture against the following property:

Real Property Located at 10681 Production Avenue, Fontana, CA 92337
(17-ICE-001364)

The custodian of the property is Fines, Penalties, and Forfeitures, Department of
Homeland Security, Bureau of Customs and Border Protection, located at 301 East
Ocean Boulevard, Suite 900, Long Beach, CA 90802

Any person claiming a legal interest in the Defendant Property must file a verified Claim
with the court within 60 days from the first day of publication (September 25, 2017) of
this Notice on this official government internet web site and an Answer to the complaint
or motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days
thereafter. 18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone
asserting an interest in property which the court determines was frivolous.

The verified Claim and Answer must be filed with the Clerk of the Court, 3470 Twelfth
Street, Room 134, Riverside, CA 92501, and copies of each served upon Assistant
United States Attorney Steven R. Welk, 312 N. Spring St., 14th Floor, Los Angeles, CA
90012, or default and forfeiture will be ordered. See, 18 U.S.C. § 983(a)(4)(A) and Rule
G(5) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions.

 

 
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Attachment 2

Advertisement Certification Report

 

The Notice of Publication was available on the www.forfeiture.qov web site for at least 18 hours per day
between September 25, 2017 and October 24, 2017. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. REAL PROPERTY LOCATED AT 10681 PRODUCTION AVENUE,FONTANA, CALIFORNIA,

Court Case No: EDCV 17-1872
For Asset ID(s): See Attached Advertisement Copy

Verified

e

Additional tog information is available and kept in the archives for 15 years after the asset has been disposed.

 

 
